             Case 5:23-cv-11074-JEL-EAS ECF No. 1-5, PageID.28 Filed 05/05/23 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



                                                                     )
            LIBERTARIAN NATIONAL COMMITTEE, INC.                     )
                                                                     )            Civil Action No.
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
           MIKE SALIBA, RAFAEL WOLF, GREG STEMPFLE,                  )            Hon.
           ANGELA THORNTON-CANNY, JAMI VAN                           )
           ALSTINE, MARY BUZUMA, DAVID CANNY, and                    )
           JOSEPH BRUNGARDT
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To: Rafael Wolf
        1418 Elkerton Avenue
        Kalamazoo, Michigan 49048

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
   FRESH IP
   Joseph J. Zito, Esq.
   1250 Connecticut Avenue, NW, Suite 700
   Washington, DC 20036



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


KINIKIA D. ESSIX, CLERK OF COURT                                   By:
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance:
             Case 5:23-cv-11074-JEL-EAS ECF No. 1-5, PageID.29 Filed 05/05/23 Page 2 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No.
                                                               Hon.

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
 was received by me on (date)                                       .

            ’ I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            ’ I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            ’ I returned the summons unexecuted because                                                                           ; or

            ’ Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
